Case 2:24-cv-12347-BRM-EAS ECF No. 62, PageID.2111 Filed 06/18/25 Page 1 of 6




             IN THE UNITED STATES DISTRICT COURT FOR

                 THE EASTERN DISTRICT OF MICHIGAN

 ELYSE McKENNA,

                   Plaintiff,
                                            Case 2:24-cv-12347-BRM-EAS
 v
                                            Hon. BRANDY R. McMILLION
 ROBERT F. RILEY,
 and                                        Magistrate Judge Elizabeth Stafford
 RILEY & HURLEY, PC

 and

 OLSMAN, MACKENZIE, PEACOCK,
 WALLACE, PC

                   Defendants.
                                                                               /



                      BRIEF FOR ELYSE McKENNA

       RESPONSE FROM KALAHAR’S AND McGINN’S MOTION



       On September 9, 2024, Plaintiff Elyse McKenna, pro se, filed a complaint,

 against the Defendants. However, it became difficult and Plaintiff substituted

 Kathleen Kalahar as counsel, on October 15, 2024. Subsequently, Randi McGinn

 appeared on November 6, 2024. (Kalahar and McGinn are referred to as “K&M”).
Case 2:24-cv-12347-BRM-EAS ECF No. 62, PageID.2112 Filed 06/18/25 Page 2 of 6




             K&M CLAIM THAT THEY CAN WITHDRAW
             WITHOUT PROVIDING SUFFICIENT INFORMATION

       On June 6, 2025, K&M filed a motion to withdraw from representing

 Plaintiff in this matter. K&M’s submission contained a three-page motion, along

 with a one-page argument. The second and third paragraphs of the argument stated

 the following:

             Under E.D. Mich. L.R. 83.25(b)(2), an attorney may
             withdraw only on order of the Court. Withdrawal is
             appropriate where ethical rules or practical
             circumstances make continued representation
             unworkable.

             The Michigan Rules of Professional Conduct provide
             the circumstances under which withdrawal is
             appropriate. Mich R. Prof. Conduct 1.16. This motion
             is based on a breakdown in the attorney-client
             relationship that, in counsel’s judgment, makes
             continued representation no longer appropriate, and
             impairs the ability to provide effective representation.
             The standard for withdrawal is satisfied. [Emphasis
             supplied.]

       While K&M attempt to assert claims in Paragraph (1), one sentence of

 Paragraph (2), and one sentence of Paragraph (3), of the motion, conclusory

 statements do not appear to be substantial.

       What is “based on a breakdown in the attorney-client relationship” if there

 did not have a breakdown? No evidence shows that there was a breakdown of


                                     Page -2-
Case 2:24-cv-12347-BRM-EAS ECF No. 62, PageID.2113 Filed 06/18/25 Page 3 of 6




 attorney-client relationship. Certainly, the motion and argument simply failed to

 perform.

       The Michigan Rules of Professional Conduct states as follows:

             (b) Except as stated in paragraph (C), after informing the
             client that the lawyer cannot do so without permission
             from the tribunal for the pending case, a lawyer may
             withdraw from representing a client if withdrawal can
             be accomplished without material adverse effect on
             the interests of the client [emphasis supplied], or if:

                    (1) the client persists in a course of action
                    involving the lawyer’s services that the
                    lawyer reasonably believes is criminal or
                    fraudulent;

                    (2) the client has used the lawyer’s services
                    to perpetrate a crime or fraud;

                    (3) the client insists upon pursuing an
                    objective that the lawyer considers
                    repugnant or imprudent;

                    (4) the client fails substantially to fulfill an
                    obligation to the lawyer regarding the
                    lawyer’s services and has been given
                    reasonable warning that the lawyer will
                    withdraw unless the obligation is fulfilled;

                    (5) the representation will result in an
                    unreasonable financial burden on the
                    lawyer or has been rendered unreasonably
                    difficult by the client; or



                                       Page -3-
Case 2:24-cv-12347-BRM-EAS ECF No. 62, PageID.2114 Filed 06/18/25 Page 4 of 6




                     (6) other good cause for withdrawal exists.

 MRPC 1.16(b)(1)-(6).

       A lawyer may withdraw from representing a client if withdrawal can be

 accomplished without material adverse effect on the interests of the client. Or to

 put it simply, material adverse effect on the interests of the client that harms the

 client is more important than withdrawal.

       In connection with MRPC 1.16(b)(1)(2)(3)(4) and (5), none of those would

 help K&M. As to MRPC 1.16(b)(6), K&M failed to show actual good cause.

 What was the good cause? It certainly is not established in the motion or

 argument.

       Additionally, material adverse effect causing harm to Plaintiff does not

 warrant withdrawal by K&M.           Over the past 8 months, K&M has been

 representing Plaintiff McKenna. Now, K&M are insisting on withdrawing without

 explaining why they want to leave their client.

       Plaintiff McKenna is doing what she can to find another attorney. Once an

 original attorney represents a client and then decides to withdral from the client,

 it is very difficult to obtain a new attorney who has knowledge in the field that is

 involved. It is virtually expected for attorneys, under these circumstances, to avoid




                                       Page -4-
Case 2:24-cv-12347-BRM-EAS ECF No. 62, PageID.2115 Filed 06/18/25 Page 5 of 6




 taking on this at this time. It would be horrendous if Plaintiff McKenna were

 destroyed by a withdrawal.

        Thus K&M’s proposed of a withdrawal would only serve to due harm. For,

 it is clear that the material adverse effect on the interests of the client, would impair

 the Plaintiff.

                                    CONCLUSION

        Inasmuch as there has not been any reasonable motion for withdrawal, said

 motion should be denied.

 Dated: June 18, 2025

                                            SCHWARTZ PLLC
                                    By:
                                            /s/ Michael Alan Schwartz
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                                          Page -5-
Case 2:24-cv-12347-BRM-EAS ECF No. 62, PageID.2116 Filed 06/18/25 Page 6 of 6




                          CERTIFICATE OF SERVICE

       I hereby certify that on June 18, 2025, I electronically filed with forgoing

 document with the Clerk of the Court using the ECF system, that will send

 notification of such filing to all ECF participants.


                             /s/ Michael Alan Schwartz
                               Michael Alan Schwartz




                                       Page -6-
